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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF NEW HAMPSHIRE

UNITED STATES OF AMERICA,                      )
                                               )
v.                                             )
                                               )
CIRINO GONZALEZ,                               ) Docket no. 07-CR-189-GZS
                                               )
                       Defendant.              )
                                               )

                            ORDER ON MOTION TO WITHDRAW

       On September 23, 2008, this Court held a hearing on the Motion to Withdraw (Docket #519)
filed by Attorney Bownes. Prior to the hearing, the Court had also received and reviewed a
supplemental sealed statement in support of the Motion (Docket # 526) and a handwritten letter
from Mr. Gonzalez (Docket # 520).          After excluding the Government’s Attorney from the
courtroom, the Court heard from both Attorney Bownes and Mr. Gonzalez regarding their reasons
for seeking withdrawal. Ultimately, the Motion was WITHDRAWN on the record.
       Despite the withdrawal, the Court notes that having heard from Defendant and reviewed all
of the related written submissions, the Court does not believe that there is any basis for allowing
Attorney Bownes to withdraw at this time. In the Court’s view, the request to withdraw was
untimely given the upcoming sentencing hearing. Also, there is not a total lack of communication
between attorney and client.     Rather, in the Court’s assessment, although Mr. Gonzalez and
Attorney Bownes appear to have some continuing disagreement regarding trial strategy and various
pretrial matters, there was no suggestion that they are unable to communicate or fundamentally
disagree with respect to sentencing issues. The sentencing in this matter is scheduled for this
Friday, September 26, 2008. Given Attorney Bownes’ familiarity with the case and the Court’s
assessment of his representation at trial and at the presentence conference, the Court is convinced
that Attorney Bownes remains a knowledgeable advocate for Mr. Gonzalez. In short, given the
totality of the circumstances, the Court is satisfied that there is no basis for allowing withdrawal or
replacing Attorney Bownes at this stage of the proceedings.
       SO ORDERED.
                                                     /s/ George Z. Singal
                                                     Chief U.S. District Judge

Dated this 23rd day of September, 2008.
